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 4   Facsimile: (916) 441-4202
 5   Attorney for Defendant
     HECTOR MANRIQUEZ
 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        No. 2:05-cr-0227-MCE
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )        STIPULATION AND [PROPOSED]
                                   )        ORDER
14   HECTOR MANRIQUEZ,             )
                                   )
15             Defendant.          )
     ______________________________)
16
17        IT IS HEREBY stipulated between the parties, Plaintiff
18   United States of America, by and through United States Attorney
19   McGregor W. Scott and Assistant United States Attorney Phillip A.
20   Talbert, and Defendant, Hector Manriquez, through his attorney,
21   Lorie J. Teichert, that the previously set Status Conference of
22   March 21, 2006 be continued to April 25, 2006 at 8:30 a.m.
23        It is further stipulated and agreed between the parties that
24   the period from March 21, 2006 to and including April 25, 2006
25   should be excluded in computing the time within which the trial
26   of the above criminal prosecution must commence for purposes of
27   the Speedy Trial Act for the purpose of further investigation
28   regarding the co-defendant and other factual issues, translation

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 1   of surveillance tapes, research relating to potential immigration
 2   consequences, and further settlement discussions.         At present,
 3   the co-defendant, who has a history of activities in Northern
 4   California, remains at large.     The defense has secured an
 5   investigator to investigate matters relating to the co-defendant
 6   which may impact defendant’s culpability and to locate witnesses
 7   who can provide information as to defendant’s activities and
 8   background during the relevant time period in this case.          In
 9   addition, the defense has secured the services of a Spanish
10   interpreter to translate the surveillance tapes in this case but
11   has not yet received the translation.       The defense has also
12   secured the appointment of an immigration consultant to properly
13   advise defendant of the potential immigration consequences of
14   alternative resolutions of this matter.       Finally, the defense
15   seeks to continue settlement discussions with the Government.
16   All parties stipulate and agree that the exclusion of time from
17   March 21, 2006 to and including April 25, 2006 is an appropriate
18   exclusion of time within the meaning of Title 18, United States
19   Code, section 3161(h)(8)(B)(iv), and Local Code T4.
20   Dated: March 16, 2006            Respectfully submitted,
21
                                         /s/ Lorie J. Teichert
22                                     LORIE J. TEICHERT
                                       Attorney for Defendant
23                                     Hector Manriquez
24 ///
25 ///
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 1 Dated: March 16, 2006                McGREGOR W. SCOTT
                                        United States Attorney
 2
 3                                     By: /s/ Phillip A. Talbert
                                          PHILLIP A. TALBERT
 4                                        Assistant U.S. Attorney
                                       ORDER
 5
     IT IS SO ORDERED.
 6
     Dated: March 22, 2006
 7
 8
 9                                     _____________________________
                                       MORRISON C. ENGLAND, JR
10
                                       UNITED STATES DISTRICT JUDGE
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